56 F.3d 64NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    Carmen DISTEFANO, Plaintiff - Appellant,v.GENERAL ELECTRIC COMPANY, Defendant - Appellee.
    No. 94-3364.
    United States Court of Appeals, Sixth Circuit.
    May 16, 1995.
    
      Before:  KEITH and MARTIN, Circuit Judges; and SMITH, District Judge.*
      PER CURIAM:
    
    
      1
      Plaintiff, Carmen Distefano, appeals from the order of the district court granting summary judgment to the defendant in this wrongful termination action.
    
    
      2
      Having carefully considered the record on appeal and the briefs of the parties, we find no error in the district court's grant of summary judgment to the defendant.
    
    
      3
      The district court has thoroughly addressed the issues presented to this court in its memorandum opinion and order entered March 15, 1994.  For the reasons articulated therein the order of the Honorable Ann Aldrich, United States District Judge for the Northern District of Ohio, is AFFIRMED.
    
    
      
        *
         The Honorable George C. Smith, United States District Judge for the Southern District of Ohio, sitting by designation
      
    
    